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               SCHEDULE C
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                                      Schedule C
      Registration     Registration                      Title of Work
       Number             Date

     VAu000446942         1999          Andazia International--Millennium 2000 T-shirts :
                                                      no. 280-283, 287-289.
     VAu000446948         1999                 Berkshire--Smiley babies outerwear, socks,
                                            Smiley rainwear, umbrellas, Smilette : no.
                                                       BERK001-BER019.
     VAu000446941         1999           Commonwealth toy--Smiley Babies packaging
                                                  labels : no. CTN01-CTN05.
     VAu000304029         1998                   Freeze/Millennium 2000 T-shirts : no.
                                                          FR001-FR118.
     VAu000446947         1999           Freeze--Millennium 2000 T-shirts : no. FR119-
                                                             FR168.
     VAu000446946         1999          Home Group, Inc.--Smiley headwear : no. HG001-
                                                             HG004.
     VAu000456386         1999           Jacques Moret Intimates/SHB intimates ... : no.
                                                          JM045-JM068.
     VAu000446943         1999            Maru artwork--Smiley characters, millennium
                                                2000 : no. MARU01-MARU06.
     VAu000446940         1999           Millennium 2000 socks : no. 6209-6248, 6250-
                                                              6256.
     VAu000456387         1999             NTD Apparel, Inc. : no. NTD181-NTD280.
     VAu000446944         1999            Pro Specialties Group--Millennium 2000 : no.
                                                          PS005-PS006.
     VAu000446945         1999            Ralph Marlin--Millennium 2000 boxers : no.
                                                         RM001-RM005.
     VAu000440872         1998                  "Smiley for kids" December 98.
     PAu002457240         1999                            Smiley forever.
     PAu002457241         1999               Smiley trend book--fall/winter 2000-01.
